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                    EXHIBIT 2
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UNITEDHEALTHCARE INSURANCE COMPANY


                  LIFE INSURANCE

  ACCIDENTAL DEATH, DISMEMBERMENT
      OR LOSS OF USE INSURANCE


                   GROUP POLICY
                       FOR

        HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6Y8556BW




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
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                                     UnitedHealthcare Insurance Company
                                              185 Asylum Street
                                            Hartford, Connecticut
                                                (Home Office)


Policyholder: HARRIS PHARMACEUTICALINC
Policy Number: G/GA6Y8556BW
Effective Date: July 1, 2019
Premium Due Date: July 1 and the first day of each month thereafter
Policy Anniversaries will be each July 1


We, UnitedHealthcare Insurance Company, agree to provide, for eligible persons becoming insured under the
Policy, the benefits according to the terms, provisions and limitations of it. The following pages, including any
riders, endorsements or amendments, are part of the Policy.
The Policy is issued in consideration of the Policyholder’s application, a copy of which is attached.
The Policy becomes effective at 12:01 A.M. Eastern Standard time on the Effective Date shown above. The Policy
will continue in force by the payment of premiums when due. The Policy is subject to termination according to its
terms.
Read the Policy Carefully
This is a legal contract between the Policyholder and Us. If the Policyholder has any questions or problems with
the Policy, We will be ready to help the Policyholder. The Policyholder may call upon his agent or Our Home
Office for assistance at any time.
The Policy is issued in and governed by the laws of the State in which it is delivered.
We have, by its President and Secretary, executed the Policy at Hartford, Connecticut. If the Policyholder or the
Covered Person have questions, need information about their insurance, or need assistance in resolving
complaints, call 866-293-1794.




            Secretary

                                                                  William J Golden, President

         Group Life, Accidental Death and                      Administrative Office:
         Dismemberment Insurance Policy                        9900 Bren Road East
         Nonparticipating                                      Minnetonka, MN 55343




LASD-POL-FL(05/03)                                                                                            1
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                                       POLICY GENERAL PROVISIONS

Certificates: The Policyholder will be furnished with individual Certificates for delivery to each Covered Person.
These certificates summarize the benefits provided by the Policy. If there is a conflict between the Policy and the
Certificate, the Policy will control.
Conformity With State or Federal Statutes: If any provision of the Policy conflicts with any applicable law, the
provision will be deemed to conform to the minimum requirements of the law.
Entire Group Contract: The entire Group Contract between the Policyholder and Us consists of the Policy,
Certificate and the Policyholder’s application (a copy of which is attached). All statements made by the
Policyholder and by any Covered Person are representations and not warranties. No statement made by the
Covered Person will be used to contest the insurance provided by the Policy, unless:
1.   it is contained in a written statement signed by the Covered Person; and
2.   a copy of the statement is furnished to the Covered Person or beneficiary.
Only We may change the Policy or extend the time for payment of any premium. No change will be valid unless
made in writing and signed by Us. Any change so made will be binding on all persons referred to in the Policy.
No agent has the authority to change the Policy or waive any of the provisions. For purposes of the Policy, the
Policyholder acts on its own behalf, or as the Covered Person’s agent. The Policyholder is not an agent of Ours.
Incorporation Provision: The provisions of the attached Certificate(s), any riders, endorsement s and any
amendments, including any Certificate, rider, endorsements and amendment issued after the Policy Effective
Date, are made a part of the Policy.
Nonparticipation: The Policy will not be entitled to share in Our surplus earnings.
Termination of the Policy: The Policy or line of insurance (if applicable) may be canceled by either the
Policyholder or Us. We may cancel or offer to modify the Policy if any of the following occurs:
1.   less than 75% of all eligible Employees are participating, if the employer contributes partially towards the
     cost of insurance;
2.   less than 100% of all eligible Employees are participating, if the employer contributes in whole towards the
     cost of insurance;
3.   the Policyholder does not provide Us with information that We need to administer the Policy;
4.   the Policyholder fails to perform any of its obligations that relate to the Policy;
5.   the date the number of Covered Persons decreases to less than 2 under the Policy or line of insurance (if
     applicable);
6.   on the last day of the Grace Period, if the next payment is not made.
If the Policyholder fails to pay any premium within the Grace Period, the Policy will terminate without further
notice retroactive to the last day of the Grace Period. The Policyholder will remain liable for payments of a pro
rata premium for the time the Policy remains in-force during the Grace Period. The Policyholder must pay Us all
premium due for the full period the Policy is in effect. We reserve the right to review and terminate all classes
insured under the Policy, if any class(es) cease to be insured.




LASD-POL-FL(05/03)                                       PG(FL)                                                     2
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United HealthCare
185 Asylum Street
Cityplace I
Hartford, CT 06103

                                                                                      July 3, 2019


G/GA6Y8556BW

HARRIS PHARMACEUTICALINC
9090 PARK ROYAL DRIVE
FORT MYERS, FL 339080000

Dear Customer:
Enclosed in this package are your Group coverage documents. Depending on the type(s) of coverage you have
selected there may be one or more sets of Master Documents. Please keep all Master Documents and any
applicable amendment(s) with your other coverage records.
Please distribute one copy of the coverage document(s) to each of your covered Employees.
For your convenience, you no longer need to order document(s) for new hires. As future Employees become
covered, you will be sent a copy of the document(s) for each new employee. If an employee has misplaced their
coverage document(s), please continue to call the Customer Service Center.
If you have any questions about this information, please contact your United HealthCare Customer Service Center
at 1-800-842-8000.

                                                                 Very truly yours,




                                                                 Andrew R Heim
                                                                 United HealthCare
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HARRIS PHARMACEUTICAL INC


                       Master
                Policy and Certificate

                            for your

                         Life Benefits

                    Accident Benefit

                Dental Expense Benefits
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UNITEDHEALTHCARE INSURANCE COMPANY


               DENTAL INSURANCE


                   GROUP POLICY

                             FOR

        HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6Y8556BW
                  EFFECTIVE DATE: July 1, 2019
                     DENTAL PLAN: P4881




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
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                                              Group Policy

                     UnitedHealthcare Insurance Company

                                                 185 Asylum Street

                                              Hartford, CT 06103-3408

                                                  1-800-357-1371


This Group Policy ("Policy") is entered into by and between UnitedHealthcare Insurance Company , and the
"Enrolling Group," as stated in Exhibit 1.
Upon receipt of the Enrolling Group’s application and payment of the required Policy Charges, this Policy is
deemed executed. The Company agrees with the Enrolling Group to provide Coverage for Dental Services set
forth herein, subject to the terms, conditions, exclusions, and limitations of this Policy. The Enrolling Group’s
application is made a part of this Policy.
This Policy replaces and supersedes any previous agreements relating to the Coverage of Dental Services
between the Enrolling Group and the Company. The terms and conditions of this Policy will in turn be superseded
by those of any subsequent agreements relating to the Coverage of Dental Services between the Enrolling Group
and the Company.
The Company will not be deemed or construed as an employer for any purpose with respect to the administration
or provision of benefits under the Enrolling Group’s benefit plan. The Company will not be responsible for fulfilling
any duties or obligations of an employer with respect to the Enrolling Group’s benefit plan.
This Policy will become effective at 12:01 a.m. at the Enrolling Group’s address on the date specified in Exhibit 1,
and will be continued in force by the timely payment of the required Policy Charges when due, subject to
termination of this Policy as provided herein. When the Policy is terminated, as provided for in Article 5, this
Policy and all Coverage under this Policy will end at 12:00 midnight on the date of termination.



               This Policy Contains a Deductible Provision.
This Policy is delivered in and governed by the laws of the State of Florida .


Issued By:

UnitedHealthcare Insurance Company




   William J Golden, President




DPOL.12.FL.SM.CMM                                        1
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                                    Article 1: Definitions
The terms used in this Policy have the same meaning given those terms in the Certific ate of Coverage
("Certificate"), unless otherwise specifically defined in this Policy.


                                Article 2: Dental Services
Subscribers and their Enrolled Dependents are entitled to Coverage for Dental Services subject to the terms,
conditions, limitations and exclusions set forth in the Certificate(s) and Schedule(s ) of Covered Dental Services,
included in this Policy. The Certificate(s) and Schedule(s) of Covered Dental Services describe the Covered
Dental Services including any optional Riders and Amendments, required Copayments, and the terms, con-
ditions, limitations and exclusions related to Coverage.


              Article 3: Premium Rates and Policy Charge
Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified on Exhibit 2 to the Policy entitled
"Premiums".
The Company reserves the right to change the schedule of rates for Premiums as described in Exhibit 1.
Computation of Policy Charge
Each Policy Charge will be calculated based on the number of Subscribers in each Coverage classification the
Company shows in its records at the time of calculation, at the Premiums then in effect. The Policy Charge is
calculated as described in Exhibit 1.
Adjustments to the Policy Charge
Retroactive adjustments may be made for any additions or terminations of Subscribers or changes in Coverage
classification not reflected in the Company’s records at the time the Policy Charge is calculated by the Company.
However, no retroactive credit will be granted for any change occurring more than 60 days prior to the date the
Company received notification of the change from the Enrolling Group, nor will retroactive credit be granted for
any calendar month in which a Subscriber has received Dental Services.
The Enrolling Group will notify the Company in writing within 30 days of the effective date of enrollments,
terminations or other changes; provided, however, that the Enrolling Group will notify the Company in writing
each month of any changes in the Coverage classification of any Subscriber.
In the event there is any increase in premium tax, guarantee or uninsured fund assessment or other governmental
charges relating to or calculated in regard to Premium such increase will be automatically added to the Premium.
Payment of the Policy Charge
The Policy Charge is payable in advance by the Enrolling Group to the Company as described in Exhibit 1. The
first Policy Charge is due and payable on the effective date of the Policy. Subsequent Policy Charges are due and
payable no later than the first day of each period thereafter that the Policy is in effect.
A late payment charge will be assessed for any Policy Charge not received by the due date. A service charge will
be assessed for any non-sufficient-fund check received in payment of the Policy Charge. All Policy Charge
payments will be accompanied by supporting documentation which states the names of the Covered Persons for
whom payment is made.
The Enrolling Group will reimburse the Company for attorney’s fees and any other costs related to collecting
delinquent Policy Charges.




DPOL.12.FL.SM.CMM                                       3
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Grace Period
A Grace Period of 31 days will be granted for the payment of any Policy Charge, during which time the Policy will
continue in force. In no event will the Grace Period extend beyond the date the Policy terminates.
This Policy will automatically terminate on the last day of the calendar month the Grace Period expires and any
Policy Charge remains unpaid, or if the Company receives written notice of termination from the Enrolling Group
during the Grace Period.


        Article 4: Eligibility and Effective Date of Coverage
Initial Eligibility Period
Eligible Persons and their Dependents may enroll for Coverage under the Policy during the Initial Eligibility
Period. The Initial Eligibility Period is the period of time agreed to by the Enrolling Group and the Company.
Open Enrollment
If specified in the Certificate , the Enrolling Group will provide an Open Enrollment Period as specified in the
Certificate, during which Eligible Persons may enroll for Coverage under the Policy.
Eligibility Conditions
The eligibility conditions stated in the application are in addition to those specified in Section 2 of the Certificate.
Effective Date of Coverage
Coverage for properly enrolled Eligible Persons and their Dependents will begin on the date stated in Exhibit 1.


                               Article 5: Policy Termination
Conditions for Termination of This Entire Policy
This Policy and all Coverage under this Policy will automatically terminate on the earliest of the dates specified
below:
A.   At the Company’s option, retroactive to the last paid date of Coverage, if the Grace Period expires and any
     Policy Charge remains unpaid.
B.   On the date specified by the Enrolling Group, after at least 45 days prior written notice to the Company
     that this Policy will be terminated.
C.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated, due to the Enrolling Group’s violation of participation and contribution rules.
D.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group provided the Company with false information material to the
     execution of this Policy or to the provision of Coverage under this Policy. The Company has the right to
     rescind this Policy back to the effective date.
E.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group does not provide us with information that we need to administer
     the Policy or fails to perform any of its obligations that relate to the Policy.
F.   On the date specified by the Company after at least 90 days prior written notice to the Enrolling Group that
     this Policy will be terminated because the Company will no longer renew or issue this type of dental benefit
     plan within the applicable market.
G.   On the date specified by the Company after at least 180 days prior written notice to the applicable state
     authority and to the Enrolling Group that this Policy will be terminated because the Company will no
     longer renew or issue any employer dental benefit plan within the applicable market.




DPOL.12.FL.SM.CMM                                          4
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Payment and Reimbursement Upon Termination
Upon any termination of this Policy, the Enrolling Group will be and will remain liable to the Company for the
payment of any and all Premiums which are unpaid at the time of termination, including a pro rata fee for any
period this Policy was in force during the Grace Period, if any, preceding the termination.


                            Article 6: General Provisions
Entire Policy
The Policy, including the Certificate(s), Schedule(s) of Covered Dental Services, the application of the Enrolling
Group, any individual Subscriber applications, Amendments and Riders will constitute the entire Policy between
parties. All statements made by the Enrolling Group or by a Subscriber will, in the absence of fraud, be deemed
representations and not warranties.
Time Limit on Certain Defenses
No statement made by the Enrolling Group, except a fraudulent statement, will be used to void this Policy after it
has been in force for a period of 2 years.
Amendments and Alterations
Amendments to the Policy are effective upon 45 days written notice to the Enrolling Group. Riders are effective on
the date specified by the Company. No change will be made to this Policy unless made by an Amendment or a
Rider which is signed by an executive officer of the Company. No agent has authority to change this Policy or to
waive any of its provisions.
Relationship Between Parties
The relationships between the Company and providers and relationships between the Company and Enrolling
Groups, are solely contractual relationships between independent contractors. Providers and Enrolling Groups
are not agents or employees of the Company, nor is the Company or any employee of the Company an agent or
employee of providers or Enrolling Groups.
The relationship between a provider and any Covered Person is that of provider and patient. The provider is
solely responsible for the services provided by it to any Covered Person. The relationship between any Enrolling
Group and any Covered Person is that of employer and employee, Dependent, or other Coverage classification
as defined in this Policy. The Enrolling Group is solely responsible for enrollment and Coverage classification
changes (including termination of a Covered Person’s Coverage through the Company) and for the timely
payment of the Policy Charge.
Records
The Enrolling Group will furnish the Company with all information and proofs which the Company may reasonably
require with regard to any matters pertaining to this Policy. The Company may at any reasonable time inspect all
documents furnished to the Enrolling Group by an individual in connection with the Coverage, and the Enrolling
Group’s payroll, and any other records pertinent to the Coverage under this Policy.
By accepting Benefits under this Policy, each Covered Person authorizes and directs any person or institution
that has provided services to them, to furnish the Company or it’s designees any and all information and records
or copies of records relating to the services provided to the Covered Person. The Company has the right to
request this information at any reasonable time. This applies to all Covered Persons, including Enrolled
Dependents whether or not they have signed the Subscriber’s enrollment form.
The Company agrees that such information and records will be considered confidential. The Company has the
right to release any and all records concerning dental services which are necessary to implement and administer
the terms of this Policy, for appropriate medical review or quality assessment, or as the Company is required by
law or regulation.
During and after the term of the Policy, the Company and its related entities may use and transfer the information
gathered under the Policy for research and analytic purposes.




DPOL.12.FL.SM.CMM                                      5
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Administrative Services
The services necessary to administer this Policy and the Coverage provided under it will be provided in
accordance with the Company’s or its designee’s standard administrative procedures. If the Enrolling Group
requests that such administrative services be provided in a manner other than in accordance with these standard
procedures, including requests for non-standard reports, the Enrolling Group will pay for such services or reports
at the Company’s or its designee’s then-current charges for such services or reports.
ERISA
When this Policy is purchased by the Enrolling Group to provide benefits under a welfare plan governed by the
Employee Retirement Income Security Act 29 U.S.C., 1001 et seq., the Company will not be named as and will not
be the Plan Administrator or the named fiduciary of the welfare plan, as those terms are used in ERISA.
Examination of Covered Persons
In the event of a question or dispute concerning Coverage for Dental Services, the Company may reasonably
require that a Covered Person be examined at the Company’s expense by a Dentist acceptable to the Company.
Clerical Error
Clerical error will not deprive any individual of Coverage under this Policy or create a right to benefits. Failure to
report the termination of Coverage will not continue such Coverage beyond the date it is scheduled to terminate
according to the terms of this Policy. Upon discovery of a clerical error, any necessary appropriate adjustment in
Premiums will be made. However, no such adjustment in Premiums or Coverage will be granted by the Company
to the Enrolling Group for more than 60 days of Coverage prior to the date the Company received notification of
such clerical error.
Workers’ Compensation Not Affected
The Coverage provided under this Policy does not substitute for and does not affect any requirements for
coverage by workers’ compensation insurance.
Conformity with Statutes
Any provision of this Policy which, on its effective date, is in conflict with the requirements of applicable state or
federal statutes or regulations is hereby amended to conform to the minimum requirements of such statutes and
regulations.
Waiver/Estoppel
Nothing in the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is considered to be waived by any
party unless the party claiming the waiver receives the waiver in writing. A waiver of one provision does not
constitute a waiver of any other. A failure of either party to enforce at any time any of the provisions of the Policy,
Certificate(s) or Schedule(s) of Covered Dental Services, or to exercise any option which is herein provided, will
in no way be construed to be a waiver of such provision of the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services.
Headings
The headings, titles and any table of contents contained in the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services are for reference purposes only and will not in any way affect the meaning or interpretation of the
Policy, Certificate(s) or Schedule(s) of Covered Dental Services.
Unenforceable Provisions
If any provision of the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is held to be illegal or
unenforceable by a court of competent jurisdiction, the remaining provisions will remain in effect and the illegal or
unenforceable provision will be modified so as to conform to the original intent of the Policy, Certificate(s) or
Schedule(s) of Covered Dental Services to the greatest extent legally permissible.




DPOL.12.FL.SM.CMM                                         6
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Notice
Written notice given by the Company to an authorized representative of the Enrolling Group is deemed notice to
all affected Subscribers and their Enrolled Dependents in the administration of this Policy, including termination
of this Policy. The Enrolling Group is responsible for giving notice to Covered Persons.
Any notice sent to the Company under this Policy and any notice sent to the Enrolling Group will be addressed as
described in Exhibit 1.
Continuation Coverage
The Company agrees to provide Coverage under the Policy for those Covered Persons who are eligible to
continue Coverage under federal or state law, as described in the Certificate(s).
The Company will not provide any administrative duties with respect to the Enrolling Group’s compliance with
federal or state law. All duties of the plan sponsor or plan administrator, including but not limited to notification of
COBRA and state law continuation rights, and billing and collection of Premium, remain the sole responsibility of
the Enrolling Group.
Subscriber’s Individual Certificate(s)
The Company will issue Certificate(s), Schedule(s) of Covered Dental Services and any attachments to the
Enrolling Group who will in turn make them available to each covered Subscriber. Such Certificate(s), Sched-
ule(s) of Covered Dental Services and any attachments may be provided in electronic format. The Certificate(s),
Schedule(s) of Covered Dental Services and any attachments will show all the benefits and provisions of the
Policy.




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                            Exhibit 1 to Dental Group Policy
1.   Parties. The parties to this Policy are UnitedHealthcare Insurance Company ("Company") and HARRIS
     PHARMACEUTICALINC ("Enrolling Group").
2.   Effective Date. The effective date of this Policy is July 1, 2019 .
3.   Premiums. The Company reserves the right to change the schedule of rates for Premiums, after 45 days
     prior written notice on the first anniversary of the effective date of the Policy specified in the application or
     on any monthly due date thereafter, or on any date the provisions of the Policy are amended. The
     Company also reserves the right to change the schedule of rates for Premiums, retroactive to the effective
     date, if a material misrepresentation has resulted in a lower schedule of rates.
4.   Computation of Policy Charge.
     A full month’s Premium will be charged for any Covered Person who is Covered under this Policy for any
     portion of a calendar month.
5.   Payment of the Policy Charge. The Policy Charge is payable in advance by the Enrolling Group to the
     Company on a monthly basis.
6.   Minimum Participation Requirement. The minimum participation requirement is 75% of Eligible Persons
     enrolled for Coverage under the Policy.
7.   Notice.
     Any notice sent to the Company under this Policy will be addressed to:

     UnitedHealthcare Insurance Company
     185 Asylum Street
     Hartford, CT 06103-3408


     Any notice sent to Enrolling Group under this Policy will be addressed to:

     HARRIS PHARMACEUTICALINC
     9090 PARK ROYAL DRIVE
     FORT MYERS, FL 339080000
8.   Enrolling Group Number
     G/GA6Y8556BW




DPOL.12.FL.SM.CMM                                          8
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                         Exhibit 2 to Dental Group Policy

Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified in the Cost Summary.




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                        Exhibit 3 to Dental Group Policy

Policy Contents
All of the Dental Services and provisions in the Certificate(s), Schedule(s) of Covered Dental Services,
Amendments and Riders, issued for the Enrolling Group are included and made part of this Policy.




DPOL.12.FL.SM.CMM                                 10
